USCA Case #25-1087     Document #2105058           Filed: 03/10/2025   Page 1 of 650



                                          No. 25-1087

                INTHE UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                         INRE:

   CENTER FOR BIOLOGICAL DIVERSITY, PEOPLE FOR PROTECTING
    PEACE RIVER, BAYOU CITY WATERKEEPER, HEALTHY GULF,
   MANASOTA-88, PORTNEUF RESOURCE COUNCIL, RISE ST. JAMES
      LOUISIANA, SIERRA CLUB, WATERKEEPER ALLIANCE, and
                    WATERKEEPERS FLORIDA,

                                    Petitioners.


             APPENDIX OF ATTACHMENTS IN SUPPORT OF
                 PETITION FOR WRIT OF MANDAMUS

                                VOLUME2 of7



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USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 2 of 650
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 3 of 650
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 4 of 650
USCA Case #25-1087   Document #2105058          Filed: 03/10/2025   Page 5 of 650



             Rulemaking, 86 Fed Reg. 27546
             (May 21, 2021)
 27          Complaint (ECF 1), USA v. Mosaic       APPX ATT_V4_1611–1708
             Fertilizer, No. 15-cv-2286-JDW
             TBM (M.D. Fla.) (Sept. 30, 2015)
 28          Consent Decree (ECF 2) and             APPX ATT_V4_1709–1793
             Appendix 2 (ECF 3-1) (Excerpt),
             USA v. Mosaic Fertilizer, No. 15-
             cv-2286-JDW-TBM (M.D. Fla.)
             (Sept. 30, 2015)
 29          Consent Decree (ECF 2-1), USA v.       APPX ATT_V4_1794–1878
             Mosaic Fertilizer, No. 15-cv-4889
             (E.D. La.) (Sept. 30, 2015)
 30          Mosaic Green Bay Notice of             APPX ATT_V4_1879
             Reactivation (July 22, 2021)
 31          Christopher O'Donnell, Mosaic          APPX ATT_V4_1880–1882
             plant sinkhole dumps 215 million
             gallons of reprocessed water into
             Floridan Aquifer, Tampa Bay
             Times (Sept. 16, 2016)
 32          Mosaic Fertilizer, New Wales           APPX ATT_V4_1883–1960
             Facility, Phase IV Gypsum Stac
             Extension - FDEP Construction /
             Operation Permit Application and
             Supporting Engineering Report,
             Vol. 1, Sec. 1 (Feb. 15, 2024)
 33          Jaclyn Lopez, EPA’s Opportunity        APPX ATT_V4_1961–1988
             to Reverse the Fertilizer Industry’s
             Environmental Injustices, 52 ELR
             10125-10152 (2022)
 34          EPA 2023 Biennial National             APPX ATT_V4_1989–1992
             Hazardous Waste Report Summary
 35          Emergency Final Order, In Re:          APPX ATT_V4_1993–2002
             HRK Holdings, L.L.C.’s a.k.a
             Eastport Terminal, OGC File No.
             21-0323 (Mar. 29, 2021)
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 6 of 650
USCA Case #25-1087   Document #2105058        Filed: 03/10/2025   Page 7 of 650



             Interest 4 (Dec. 14, 2023)
 44          Louisiana Department of              APPX ATT_V5_2088–2089
             Environmental Quality (LDEQ),
             Public Notice: Mosaic Fertilizer
             LLC – Uncle Sam Plant, Gypsum
             Management Area and
             Appurtenances, Public Hearing and
             Request for Public Comment on a
             Draft Solid Waste Permit Renewal
             & the Associated Environmental
             Assessment Statement (EAS)
             (2024)
 45          Notice of Approval for Other Use     APPX ATT_V5_2090–2091
             of Phosphogypsum, 89 Fed. Reg.
             104353 (Dec. 23, 2024)
 46          Approval of the Request for Other    APPX ATT_V5_2092–2094
             Use of Phosphogypsum by the
             Fertilizer Institute, 85 Fed. Reg.
             66550 (Oct. 20, 2020)
 47          Withdrawal of Approval for Use of    APPX ATT_V5_2095
             Phosphogypsum in Road
             Construction, 86 Fed. Reg. 35795
             (Jul. 7, 2021)
 48          Mosaic Fertilizer, LLC – Riverview   APPX ATT_V5_2096–2152
             Facility Initial Application to
             Construct Class I Injection Well
             System, Hillsborough County (Oct.
             17, 2023)
 49          Mosaic Fertilizer, LLC – New         APPX ATT_V5_2153–2203
             Wales Facility Initial Application
             to Construct Class V Exploratory
             Injection Well, Polk County (Feb.
             16, 2024)
 50          Mosaic Fertilizer, LLC – Green       APPX ATT_V5_2204–2253
             Bay Bartow Facilities Initial
             Application to Construct Class V
             Exploratory Injection Well, Polk
             County
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 8 of 650
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 9 of 650
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 10 of 650




                           APPX ATT_V2_270
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 11 of 650




                           APPX ATT_V2_271
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 12 of 650




                           APPX ATT_V2_272
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 13 of 650




                           APPX ATT_V2_273
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 14 of 650




                           APPX ATT_V2_274
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 15 of 650




                           APPX ATT_V2_275
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 16 of 650




                           APPX ATT_V2_276
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 17 of 650




                           APPX ATT_V2_277
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 18 of 650




                           APPX ATT_V2_278
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 19 of 650




                           APPX ATT_V2_279
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 20 of 650




                           APPX ATT_V2_280
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 21 of 650




                           APPX ATT_V2_281
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 22 of 650




                           APPX ATT_V2_282
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 23 of 650




                           APPX ATT_V2_283
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 24 of 650




                           APPX ATT_V2_284
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 25 of 650




                           APPX ATT_V2_285
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 26 of 650




                           APPX ATT_V2_286
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 27 of 650




                           APPX ATT_V2_287
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 28 of 650




                           APPX ATT_V2_288
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 29 of 650




                           APPX ATT_V2_289
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 30 of 650




                           APPX ATT_V2_290
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 31 of 650




                           APPX ATT_V2_291
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 32 of 650




                           APPX ATT_V2_292
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 33 of 650




                           APPX ATT_V2_293
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 34 of 650




                           APPX ATT_V2_294
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 35 of 650




                           APPX ATT_V2_295
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 36 of 650




                           APPX ATT_V2_296
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 37 of 650




                           APPX ATT_V2_297
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 38 of 650




                           APPX ATT_V2_298
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 39 of 650




                           APPX ATT_V2_299
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 40 of 650




                           APPX ATT_V2_300
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 41 of 650




                           APPX ATT_V2_301
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 42 of 650




                           APPX ATT_V2_302
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 43 of 650




                           APPX ATT_V2_303
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 44 of 650




                           APPX ATT_V2_304
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 45 of 650




                           APPX ATT_V2_305
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 46 of 650




                           APPX ATT_V2_306
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 47 of 650




                           APPX ATT_V2_307
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 48 of 650




                           APPX ATT_V2_308
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 49 of 650




                           APPX ATT_V2_309
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 50 of 650




                           APPX ATT_V2_310
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 51 of 650




                           APPX ATT_V2_311
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 52 of 650




                           APPX ATT_V2_312
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 53 of 650




                           APPX ATT_V2_313
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 54 of 650




                           APPX ATT_V2_314
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 55 of 650




                           APPX ATT_V2_315
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 56 of 650




                           APPX ATT_V2_316
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 57 of 650




                           APPX ATT_V2_317
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 58 of 650




                           APPX ATT_V2_318
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 59 of 650




                           APPX ATT_V2_319
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 60 of 650




                           APPX ATT_V2_320
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 61 of 650




                           APPX ATT_V2_321
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 62 of 650




                           APPX ATT_V2_322
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 63 of 650




                           APPX ATT_V2_323
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 64 of 650




                           APPX ATT_V2_324
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 65 of 650




                           APPX ATT_V2_325
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 66 of 650




                           APPX ATT_V2_326
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 67 of 650




                           APPX ATT_V2_327
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 68 of 650




                           APPX ATT_V2_328
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 69 of 650




                           APPX ATT_V2_329
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 70 of 650




                           APPX ATT_V2_330
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 71 of 650




                           APPX ATT_V2_331
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 72 of 650




                           APPX ATT_V2_332
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 73 of 650




                           APPX ATT_V2_333
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 74 of 650




                           APPX ATT_V2_334
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 75 of 650




                           APPX ATT_V2_335
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 76 of 650




                           APPX ATT_V2_336
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 77 of 650




                           APPX ATT_V2_337
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 78 of 650




                           APPX ATT_V2_338
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 79 of 650




                           APPX ATT_V2_339
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 80 of 650




                           APPX ATT_V2_340
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 81 of 650




                           APPX ATT_V2_341
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 82 of 650




                           APPX ATT_V2_342
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 83 of 650




                           APPX ATT_V2_343
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 84 of 650




                           APPX ATT_V2_344
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 85 of 650




                           APPX ATT_V2_345
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 86 of 650




                           APPX ATT_V2_346
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 87 of 650




                           APPX ATT_V2_347
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 88 of 650




                           APPX ATT_V2_348
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 89 of 650




                           APPX ATT_V2_349
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 90 of 650




                           APPX ATT_V2_350
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 91 of 650




                           APPX ATT_V2_351
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 92 of 650




                           APPX ATT_V2_352
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 93 of 650




                           APPX ATT_V2_353
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 94 of 650




                           APPX ATT_V2_354
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 95 of 650




                           APPX ATT_V2_355
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 96 of 650




                           APPX ATT_V2_356
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 97 of 650




                           APPX ATT_V2_357
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 98 of 650




                           APPX ATT_V2_358
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 99 of 650




                           APPX ATT_V2_359
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 100 of 650




                           APPX ATT_V2_360
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 101 of 650




                           APPX ATT_V2_361
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 102 of 650




                           APPX ATT_V2_362
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 103 of 650




                           APPX ATT_V2_363
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 104 of 650




                           APPX ATT_V2_364
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 105 of 650




                           APPX ATT_V2_365
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 106 of 650




                           APPX ATT_V2_366
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 107 of 650




                           APPX ATT_V2_367
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 108 of 650




                           APPX ATT_V2_368
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 109 of 650




                           APPX ATT_V2_369
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 110 of 650




                           APPX ATT_V2_370
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 111 of 650




                           APPX ATT_V2_371
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 112 of 650




                           APPX ATT_V2_372
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 113 of 650




                           APPX ATT_V2_373
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 114 of 650




                           APPX ATT_V2_374
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 115 of 650




                           APPX ATT_V2_375
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 116 of 650




                           APPX ATT_V2_376
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 117 of 650




                           APPX ATT_V2_377
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 118 of 650




                           APPX ATT_V2_378
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 119 of 650




                           APPX ATT_V2_379
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 120 of 650




                           APPX ATT_V2_380
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 121 of 650




                           APPX ATT_V2_381
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 122 of 650




                           APPX ATT_V2_382
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 123 of 650




                           APPX ATT_V2_383
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 124 of 650




                           APPX ATT_V2_384
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 125 of 650




                           APPX ATT_V2_385
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 126 of 650




                           APPX ATT_V2_386
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 127 of 650




                           APPX ATT_V2_387
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 128 of 650




                           APPX ATT_V2_388
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 129 of 650




                           APPX ATT_V2_389
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 130 of 650




                           APPX ATT_V2_390
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 131 of 650




                           APPX ATT_V2_391
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 132 of 650




                           APPX ATT_V2_392
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 133 of 650




                           APPX ATT_V2_393
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 134 of 650




                           APPX ATT_V2_394
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 135 of 650




                           APPX ATT_V2_395
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 136 of 650




                           APPX ATT_V2_396
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 137 of 650




                           APPX ATT_V2_397
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 138 of 650




                           APPX ATT_V2_398
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 139 of 650




                           APPX ATT_V2_399
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 140 of 650




                           APPX ATT_V2_400
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 141 of 650




                           APPX ATT_V2_401
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 142 of 650




                           APPX ATT_V2_402
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 143 of 650




                           APPX ATT_V2_403
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 144 of 650




                           APPX ATT_V2_404
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 145 of 650




                           APPX ATT_V2_405
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 146 of 650




                           APPX ATT_V2_406
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 147 of 650




                           APPX ATT_V2_407
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 148 of 650




                           APPX ATT_V2_408
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 149 of 650




                           APPX ATT_V2_409
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 150 of 650




                           APPX ATT_V2_410
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 151 of 650




                           APPX ATT_V2_411
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 152 of 650




                           APPX ATT_V2_412
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 153 of 650




                           APPX ATT_V2_413
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 154 of 650




                           APPX ATT_V2_414
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 155 of 650




                           APPX ATT_V2_415
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 156 of 650




                           APPX ATT_V2_416
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 157 of 650




                           APPX ATT_V2_417
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 158 of 650




                           APPX ATT_V2_418
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 159 of 650




                           APPX ATT_V2_419
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 160 of 650




                           APPX ATT_V2_420
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 161 of 650




                           APPX ATT_V2_421
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 162 of 650




                           APPX ATT_V2_422
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 163 of 650




                           APPX ATT_V2_423
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 164 of 650




                           APPX ATT_V2_424
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 165 of 650




                           APPX ATT_V2_425
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 166 of 650




                           APPX ATT_V2_426
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 167 of 650




                           APPX ATT_V2_427
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 168 of 650




                           APPX ATT_V2_428
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 169 of 650




                           APPX ATT_V2_429
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 170 of 650




                           APPX ATT_V2_430
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 171 of 650




                           APPX ATT_V2_431
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 172 of 650




                           APPX ATT_V2_432
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 173 of 650




                           APPX ATT_V2_433
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 174 of 650




                           APPX ATT_V2_434
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 175 of 650




                           APPX ATT_V2_435
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 176 of 650




                           APPX ATT_V2_436
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 177 of 650




APPX ATT_V2_437
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 178 of 650




                           APPX ATT_V2_438
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 179 of 650




APPX ATT_V2_439
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 180 of 650




                           APPX ATT_V2_440
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 181 of 650




                           APPX ATT_V2_441
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 182 of 650




                           APPX ATT_V2_442
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 183 of 650




                           APPX ATT_V2_443
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 184 of 650




                           APPX ATT_V2_444
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 185 of 650




                           APPX ATT_V2_445
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 186 of 650




                           APPX ATT_V2_446
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 187 of 650




                           APPX ATT_V2_447
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 188 of 650




                           APPX ATT_V2_448
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 189 of 650




                           APPX ATT_V2_449
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 190 of 650




                           APPX ATT_V2_450
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 191 of 650




                           APPX ATT_V2_451
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 192 of 650




                           APPX ATT_V2_452
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 193 of 650




                           APPX ATT_V2_453
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 194 of 650




                           APPX ATT_V2_454
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 195 of 650




                           APPX ATT_V2_455
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 196 of 650




                           APPX ATT_V2_456
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 197 of 650




                           APPX ATT_V2_457
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 198 of 650




                           APPX ATT_V2_458
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 199 of 650




                           APPX ATT_V2_459
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 200 of 650




                           APPX ATT_V2_460
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 201 of 650




                           APPX ATT_V2_461
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 202 of 650




                           APPX ATT_V2_462
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 203 of 650




                           APPX ATT_V2_463
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 204 of 650




                           APPX ATT_V2_464
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 205 of 650




                           APPX ATT_V2_465
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 206 of 650




                           APPX ATT_V2_466
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 207 of 650




                           APPX ATT_V2_467
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 208 of 650




                           APPX ATT_V2_468
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 209 of 650




                           APPX ATT_V2_469
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 210 of 650




                           APPX ATT_V2_470
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 211 of 650




                           APPX ATT_V2_471
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 212 of 650




                           APPX ATT_V2_472
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 213 of 650




                           APPX ATT_V2_473
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 214 of 650




                           APPX ATT_V2_474
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 215 of 650




                           APPX ATT_V2_475
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 216 of 650




                           APPX ATT_V2_476
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 217 of 650




                           APPX ATT_V2_477
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 218 of 650




                           APPX ATT_V2_478
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 219 of 650




                           APPX ATT_V2_479
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 220 of 650




                           APPX ATT_V2_480
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 221 of 650




                           APPX ATT_V2_481
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 222 of 650




                           APPX ATT_V2_482
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 223 of 650




                           APPX ATT_V2_483
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 224 of 650




                           APPX ATT_V2_484
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 225 of 650




                           APPX ATT_V2_485
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 226 of 650




                           APPX ATT_V2_486
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 227 of 650




                           APPX ATT_V2_487
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 228 of 650




                           APPX ATT_V2_488
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 229 of 650




                           APPX ATT_V2_489
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 230 of 650




                           APPX ATT_V2_490
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 231 of 650




                           APPX ATT_V2_491
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 232 of 650




                           APPX ATT_V2_492
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 233 of 650




                           APPX ATT_V2_493
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 234 of 650




                           APPX ATT_V2_494
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 235 of 650




                           APPX ATT_V2_495
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 236 of 650




                           APPX ATT_V2_496
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 237 of 650




                           APPX ATT_V2_497
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 238 of 650




                           APPX ATT_V2_498
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 239 of 650




                           APPX ATT_V2_499
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 240 of 650




                           APPX ATT_V2_500
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 241 of 650




                           APPX ATT_V2_501
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 242 of 650




                           APPX ATT_V2_502
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 243 of 650




                           APPX ATT_V2_503
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 244 of 650




                           APPX ATT_V2_504
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 245 of 650




                           APPX ATT_V2_505
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 246 of 650




                           APPX ATT_V2_506
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 247 of 650




                           APPX ATT_V2_507
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 248 of 650




                           APPX ATT_V2_508
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 249 of 650




                           APPX ATT_V2_509
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 250 of 650




                           APPX ATT_V2_510
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 251 of 650




                           APPX ATT_V2_511
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 252 of 650




                           APPX ATT_V2_512
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 253 of 650




                           APPX ATT_V2_513
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 254 of 650




                           APPX ATT_V2_514
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 255 of 650




                           APPX ATT_V2_515
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 256 of 650




APPX ATT_V2_516
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 257 of 650




                           APPX ATT_V2_517
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 258 of 650




                           APPX ATT_V2_518
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 259 of 650




                           APPX ATT_V2_519
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 260 of 650




                           APPX ATT_V2_520
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 261 of 650




                           APPX ATT_V2_521
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 262 of 650




                           APPX ATT_V2_522
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 263 of 650




                           APPX ATT_V2_523
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 264 of 650




                           APPX ATT_V2_524
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 265 of 650




                           APPX ATT_V2_525
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 266 of 650




                           APPX ATT_V2_526
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 267 of 650




                           APPX ATT_V2_527
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 268 of 650




                           APPX ATT_V2_528
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 269 of 650




                           APPX ATT_V2_529
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 270 of 650




                           APPX ATT_V2_530
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 271 of 650




                           APPX ATT_V2_531
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 272 of 650




                           APPX ATT_V2_532
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 273 of 650




                           APPX ATT_V2_533
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 274 of 650




                           APPX ATT_V2_534
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 275 of 650




                           APPX ATT_V2_535
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 276 of 650




                           APPX ATT_V2_536
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 277 of 650




                           APPX ATT_V2_537
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 278 of 650




                           APPX ATT_V2_538
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 279 of 650




                           APPX ATT_V2_539
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 280 of 650




                           APPX ATT_V2_540
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 281 of 650




                           APPX ATT_V2_541
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 282 of 650




                           APPX ATT_V2_542
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 283 of 650




                           APPX ATT_V2_543
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 284 of 650




                           APPX ATT_V2_544
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 285 of 650




                           APPX ATT_V2_545
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 286 of 650




                           APPX ATT_V2_546
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 287 of 650




APPX ATT_V2_547
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 288 of 650




                           APPX ATT_V2_548
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 289 of 650




                           APPX ATT_V2_549
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 290 of 650




                           APPX ATT_V2_550
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 291 of 650




                           APPX ATT_V2_551
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 292 of 650




                           APPX ATT_V2_552
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 293 of 650




                           APPX ATT_V2_553
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 294 of 650




                           APPX ATT_V2_554
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 295 of 650




                           APPX ATT_V2_555
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 296 of 650




                           APPX ATT_V2_556
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 297 of 650




                           APPX ATT_V2_557
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 298 of 650




                           APPX ATT_V2_558
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 299 of 650




                           APPX ATT_V2_559
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 300 of 650




                           APPX ATT_V2_560
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 301 of 650




                           APPX ATT_V2_561
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 302 of 650




                           APPX ATT_V2_562
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 303 of 650




                           APPX ATT_V2_563
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 304 of 650




                           APPX ATT_V2_564
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 305 of 650




                           APPX ATT_V2_565
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 306 of 650




                           APPX ATT_V2_566
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 307 of 650




                           APPX ATT_V2_567
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 308 of 650




                           APPX ATT_V2_568
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 309 of 650




                           APPX ATT_V2_569
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 310 of 650




                           APPX ATT_V2_570
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 311 of 650




                           APPX ATT_V2_571
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 312 of 650




                           APPX ATT_V2_572
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 313 of 650




                           APPX ATT_V2_573
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 314 of 650




                           APPX ATT_V2_574
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 315 of 650




                           APPX ATT_V2_575
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 316 of 650




                           APPX ATT_V2_576
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 317 of 650




                           APPX ATT_V2_577
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 318 of 650




                           APPX ATT_V2_578
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 319 of 650




                           APPX ATT_V2_579
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 320 of 650




                           APPX ATT_V2_580
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 321 of 650




                           APPX ATT_V2_581
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 322 of 650




                           APPX ATT_V2_582
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 323 of 650




                           APPX ATT_V2_583
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 324 of 650




                           APPX ATT_V2_584
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 325 of 650




                           APPX ATT_V2_585
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 326 of 650




                           APPX ATT_V2_586
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 327 of 650




                           APPX ATT_V2_587
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 328 of 650




                           APPX ATT_V2_588
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 329 of 650




APPX ATT_V2_589
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 330 of 650




                           APPX ATT_V2_590
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 331 of 650




                           APPX ATT_V2_591
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 332 of 650




                           APPX ATT_V2_592
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 333 of 650




                           APPX ATT_V2_593
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 334 of 650




                           APPX ATT_V2_594
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 335 of 650




                           APPX ATT_V2_595
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 336 of 650




                           APPX ATT_V2_596
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 337 of 650




                           APPX ATT_V2_597
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 338 of 650




                           APPX ATT_V2_598
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 339 of 650




                           APPX ATT_V2_599
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 340 of 650




                           APPX ATT_V2_600
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 341 of 650




                           APPX ATT_V2_601
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 342 of 650




                           APPX ATT_V2_602
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 343 of 650




                           APPX ATT_V2_603
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 344 of 650




                           APPX ATT_V2_604
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 345 of 650




                           APPX ATT_V2_605
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 346 of 650




APPX ATT_V2_606
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 347 of 650




                           APPX ATT_V2_607
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 348 of 650




                           APPX ATT_V2_608
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 349 of 650




                           APPX ATT_V2_609
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 350 of 650




                           APPX ATT_V2_610
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 351 of 650




                           APPX ATT_V2_611
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 352 of 650




                           APPX ATT_V2_612
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 353 of 650




                           APPX ATT_V2_613
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 354 of 650




                           APPX ATT_V2_614
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 355 of 650




                           APPX ATT_V2_615
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 356 of 650




                           APPX ATT_V2_616
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 357 of 650




                           APPX ATT_V2_617
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 358 of 650




                           APPX ATT_V2_618
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 359 of 650




                           APPX ATT_V2_619
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 360 of 650




                           APPX ATT_V2_620
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 361 of 650




                           APPX ATT_V2_621
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 362 of 650




                           APPX ATT_V2_622
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 363 of 650




                           APPX ATT_V2_623
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 364 of 650




                           APPX ATT_V2_624
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 365 of 650




                           APPX ATT_V2_625
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 366 of 650




                           APPX ATT_V2_626
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 367 of 650




                           APPX ATT_V2_627
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 368 of 650




                           APPX ATT_V2_628
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 369 of 650




                           APPX ATT_V2_629
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 370 of 650




                           APPX ATT_V2_630
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 371 of 650




                           APPX ATT_V2_631
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 372 of 650




                           APPX ATT_V2_632
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 373 of 650




                           APPX ATT_V2_633
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 374 of 650




                           APPX ATT_V2_634
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 375 of 650




                           APPX ATT_V2_635
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 376 of 650




                           APPX ATT_V2_636
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 377 of 650




                           APPX ATT_V2_637
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 378 of 650




                           APPX ATT_V2_638
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 379 of 650




                           APPX ATT_V2_639
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 380 of 650




                           APPX ATT_V2_640
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 381 of 650




                           APPX ATT_V2_641
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 382 of 650




                           APPX ATT_V2_642
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 383 of 650




                           APPX ATT_V2_643
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 384 of 650




                           APPX ATT_V2_644
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 385 of 650




                           APPX ATT_V2_645
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 386 of 650




                           APPX ATT_V2_646
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 387 of 650




                           APPX ATT_V2_647
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 388 of 650




                           APPX ATT_V2_648
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 389 of 650




APPX ATT_V2_649
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 390 of 650




APPX ATT_V2_650
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 391 of 650




                           APPX ATT_V2_651
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 392 of 650




                           APPX ATT_V2_652
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 393 of 650




                           APPX ATT_V2_653
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 394 of 650




                           APPX ATT_V2_654
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 395 of 650




                           APPX ATT_V2_655
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 396 of 650




                           APPX ATT_V2_656
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 397 of 650




                           APPX ATT_V2_657
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 398 of 650




                           APPX ATT_V2_658
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 399 of 650




                           APPX ATT_V2_659
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 400 of 650




                           APPX ATT_V2_660
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 401 of 650




APPX ATT_V2_661
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 402 of 650




                           APPX ATT_V2_662
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 403 of 650




                           APPX ATT_V2_663
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 404 of 650




                           APPX ATT_V2_664
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 405 of 650




APPX ATT_V2_665
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 406 of 650




APPX ATT_V2_666
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 407 of 650




                           APPX ATT_V2_667
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 408 of 650




                           APPX ATT_V2_668
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 409 of 650




                           APPX ATT_V2_669
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 410 of 650




                           APPX ATT_V2_670
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 411 of 650




                           APPX ATT_V2_671
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 412 of 650




                           APPX ATT_V2_672
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 413 of 650




                           APPX ATT_V2_673
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 414 of 650




                           APPX ATT_V2_674
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 415 of 650




                           APPX ATT_V2_675
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 416 of 650




                           APPX ATT_V2_676
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 417 of 650




                           APPX ATT_V2_677
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 418 of 650




                           APPX ATT_V2_678
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 419 of 650




                           APPX ATT_V2_679
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 420 of 650




                           APPX ATT_V2_680
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 421 of 650




                           APPX ATT_V2_681
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 422 of 650




                           APPX ATT_V2_682
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 423 of 650




                           APPX ATT_V2_683
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 424 of 650




                           APPX ATT_V2_684
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 425 of 650




                           APPX ATT_V2_685
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 426 of 650




                           APPX ATT_V2_686
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 427 of 650




                           APPX ATT_V2_687
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 428 of 650




                           APPX ATT_V2_688
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 429 of 650




                           APPX ATT_V2_689
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 430 of 650




                           APPX ATT_V2_690
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 431 of 650




                           APPX ATT_V2_691
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 432 of 650




                           APPX ATT_V2_692
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 433 of 650




                           APPX ATT_V2_693
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 434 of 650




                           APPX ATT_V2_694
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 435 of 650




                           APPX ATT_V2_695
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 436 of 650




                           APPX ATT_V2_696
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 437 of 650




APPX ATT_V2_697
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 438 of 650




                           APPX ATT_V2_698
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 439 of 650




                           APPX ATT_V2_699
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 440 of 650




                           APPX ATT_V2_700
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 441 of 650




                           APPX ATT_V2_701
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 442 of 650




                           APPX ATT_V2_702
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 443 of 650




                           APPX ATT_V2_703
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 444 of 650




                           APPX ATT_V2_704
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 445 of 650




                           APPX ATT_V2_705
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 446 of 650




                           APPX ATT_V2_706
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 447 of 650




                           APPX ATT_V2_707
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 448 of 650




                           APPX ATT_V2_708
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 449 of 650




                           APPX ATT_V2_709
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 450 of 650




                           APPX ATT_V2_710
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 451 of 650




                           APPX ATT_V2_711
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 452 of 650




                           APPX ATT_V2_712
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 453 of 650




                           APPX ATT_V2_713
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 454 of 650




                           APPX ATT_V2_714
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 455 of 650




                           APPX ATT_V2_715
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 456 of 650




                           APPX ATT_V2_716
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 457 of 650




                           APPX ATT_V2_717
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 458 of 650




                           APPX ATT_V2_718
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 459 of 650




                           APPX ATT_V2_719
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 460 of 650




                           APPX ATT_V2_720
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 461 of 650




                           APPX ATT_V2_721
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 462 of 650




                           APPX ATT_V2_722
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 463 of 650




                           APPX ATT_V2_723
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 464 of 650




                           APPX ATT_V2_724
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 465 of 650




APPX ATT_V2_725
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 466 of 650




                           APPX ATT_V2_726
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 467 of 650




                           APPX ATT_V2_727
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 468 of 650




                           APPX ATT_V2_728
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 469 of 650




                           APPX ATT_V2_729
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 470 of 650




                           APPX ATT_V2_730
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 471 of 650




                           APPX ATT_V2_731
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 472 of 650




                           APPX ATT_V2_732
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 473 of 650




                           APPX ATT_V2_733
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 474 of 650




                           APPX ATT_V2_734
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 475 of 650




                           APPX ATT_V2_735
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 476 of 650




                           APPX ATT_V2_736
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 477 of 650




                           APPX ATT_V2_737
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 478 of 650




                           APPX ATT_V2_738
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 479 of 650




                           APPX ATT_V2_739
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 480 of 650




                           APPX ATT_V2_740
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 481 of 650




                           APPX ATT_V2_741
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 482 of 650




                           APPX ATT_V2_742
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 483 of 650




                           APPX ATT_V2_743
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 484 of 650




                           APPX ATT_V2_744
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 485 of 650




                           APPX ATT_V2_745
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 486 of 650




                           APPX ATT_V2_746
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 487 of 650




                           APPX ATT_V2_747
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 488 of 650




                           APPX ATT_V2_748
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 489 of 650




                           APPX ATT_V2_749
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 490 of 650




                           APPX ATT_V2_750
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 491 of 650




                           APPX ATT_V2_751
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 492 of 650




                           APPX ATT_V2_752
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 493 of 650




                           APPX ATT_V2_753
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 494 of 650




                           APPX ATT_V2_754
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 495 of 650




                           APPX ATT_V2_755
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 496 of 650




                           APPX ATT_V2_756
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 497 of 650




                           APPX ATT_V2_757
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 498 of 650




                           APPX ATT_V2_758
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 499 of 650




                           APPX ATT_V2_759
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 500 of 650




                           APPX ATT_V2_760
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 501 of 650




                           APPX ATT_V2_761
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 502 of 650




                           APPX ATT_V2_762
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 503 of 650




                           APPX ATT_V2_763
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 504 of 650




                           APPX ATT_V2_764
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 505 of 650




                           APPX ATT_V2_765
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 506 of 650




                           APPX ATT_V2_766
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 507 of 650




                           APPX ATT_V2_767
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 508 of 650




                           APPX ATT_V2_768
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 509 of 650




                           APPX ATT_V2_769
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 510 of 650




                           APPX ATT_V2_770
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 511 of 650




                           APPX ATT_V2_771
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 512 of 650




                           APPX ATT_V2_772
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 513 of 650




                           APPX ATT_V2_773
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 514 of 650




                           APPX ATT_V2_774
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 515 of 650




                           APPX ATT_V2_775
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 516 of 650




                           APPX ATT_V2_776
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 517 of 650




                           APPX ATT_V2_777
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 518 of 650




                           APPX ATT_V2_778
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 519 of 650




                           APPX ATT_V2_779
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 520 of 650




                           APPX ATT_V2_780
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 521 of 650




                           APPX ATT_V2_781
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 522 of 650




                           APPX ATT_V2_782
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 523 of 650




                           APPX ATT_V2_783
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 524 of 650




                           APPX ATT_V2_784
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 525 of 650




                           APPX ATT_V2_785
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 526 of 650




                           APPX ATT_V2_786
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 527 of 650




                           APPX ATT_V2_787
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 528 of 650




                           APPX ATT_V2_788
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 529 of 650




                           APPX ATT_V2_789
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 530 of 650




                           APPX ATT_V2_790
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 531 of 650




                           APPX ATT_V2_791
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 532 of 650




                           APPX ATT_V2_792
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 533 of 650




                           APPX ATT_V2_793
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 534 of 650




                           APPX ATT_V2_794
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 535 of 650




                           APPX ATT_V2_795
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 536 of 650




                           APPX ATT_V2_796
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 537 of 650




APPX ATT_V2_797
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 538 of 650




APPX ATT_V2_798
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 539 of 650




APPX ATT_V2_799
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 540 of 650




                           APPX ATT_V2_800
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 541 of 650




                           APPX ATT_V2_801
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 542 of 650




                           APPX ATT_V2_802
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 543 of 650




                           APPX ATT_V2_803
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 544 of 650




                           APPX ATT_V2_804
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 545 of 650




                           APPX ATT_V2_805
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 546 of 650




                           APPX ATT_V2_806
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 547 of 650




                           APPX ATT_V2_807
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 548 of 650




                           APPX ATT_V2_808
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 549 of 650




                           APPX ATT_V2_809
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 550 of 650




                           APPX ATT_V2_810
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 551 of 650




                           APPX ATT_V2_811
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 552 of 650




                           APPX ATT_V2_812
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 553 of 650




                           APPX ATT_V2_813
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 554 of 650




                           APPX ATT_V2_814
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 555 of 650




                           APPX ATT_V2_815
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 556 of 650




                           APPX ATT_V2_816
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 557 of 650




                           APPX ATT_V2_817
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 558 of 650




                           APPX ATT_V2_818
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 559 of 650




                           APPX ATT_V2_819
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 560 of 650




APPX ATT_V2_820
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 561 of 650




                           APPX ATT_V2_821
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 562 of 650




                           APPX ATT_V2_822
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 563 of 650




                           APPX ATT_V2_823
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 564 of 650




                           APPX ATT_V2_824
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 565 of 650




                           APPX ATT_V2_825
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 566 of 650




                           APPX ATT_V2_826
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 567 of 650




                           APPX ATT_V2_827
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 568 of 650




                           APPX ATT_V2_828
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 569 of 650




                           APPX ATT_V2_829
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 570 of 650




                           APPX ATT_V2_830
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 571 of 650




                           APPX ATT_V2_831
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 572 of 650




                           APPX ATT_V2_832
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 573 of 650




                           APPX ATT_V2_833
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 574 of 650




                           APPX ATT_V2_834
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 575 of 650




                           APPX ATT_V2_835
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 576 of 650




                           APPX ATT_V2_836
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 577 of 650




                           APPX ATT_V2_837
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 578 of 650




                           APPX ATT_V2_838
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 579 of 650




                           APPX ATT_V2_839
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 580 of 650




                           APPX ATT_V2_840
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 581 of 650




                           APPX ATT_V2_841
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 582 of 650




                           APPX ATT_V2_842
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 583 of 650




                           APPX ATT_V2_843
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 584 of 650




                           APPX ATT_V2_844
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 585 of 650




                           APPX ATT_V2_845
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 586 of 650




                           APPX ATT_V2_846
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 587 of 650




                           APPX ATT_V2_847
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 588 of 650




                           APPX ATT_V2_848
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 589 of 650




                           APPX ATT_V2_849
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 590 of 650




                           APPX ATT_V2_850
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 591 of 650




                           APPX ATT_V2_851
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 592 of 650




                           APPX ATT_V2_852
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 593 of 650




                           APPX ATT_V2_853
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 594 of 650




                           APPX ATT_V2_854
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 595 of 650




                           APPX ATT_V2_855
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 596 of 650




                           APPX ATT_V2_856
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 597 of 650




                           APPX ATT_V2_857
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 598 of 650




                           APPX ATT_V2_858
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 599 of 650




                           APPX ATT_V2_859
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 600 of 650




                           APPX ATT_V2_860
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 601 of 650




                           APPX ATT_V2_861
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 602 of 650




                           APPX ATT_V2_862
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 603 of 650




                           APPX ATT_V2_863
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 604 of 650




                           APPX ATT_V2_864
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 605 of 650




                           APPX ATT_V2_865
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 606 of 650




                           APPX ATT_V2_866
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 607 of 650




                           APPX ATT_V2_867
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 608 of 650




                           APPX ATT_V2_868
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 609 of 650




                           APPX ATT_V2_869
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 610 of 650




                           APPX ATT_V2_870
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 611 of 650




                           APPX ATT_V2_871
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 612 of 650




                           APPX ATT_V2_872
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 613 of 650




                           APPX ATT_V2_873
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 614 of 650




                           APPX ATT_V2_874
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 615 of 650




                           APPX ATT_V2_875
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 616 of 650




                           APPX ATT_V2_876
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 617 of 650




                           APPX ATT_V2_877
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 618 of 650




                           APPX ATT_V2_878
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 619 of 650




                           APPX ATT_V2_879
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 620 of 650




                           APPX ATT_V2_880
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 621 of 650




                           APPX ATT_V2_881
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 622 of 650




                           APPX ATT_V2_882
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 623 of 650




                           APPX ATT_V2_883
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 624 of 650




                           APPX ATT_V2_884
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 625 of 650




                           APPX ATT_V2_885
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 626 of 650




                           APPX ATT_V2_886
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 627 of 650




                           APPX ATT_V2_887
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 628 of 650




                           APPX ATT_V2_888
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 629 of 650




                           APPX ATT_V2_889
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 630 of 650




                           APPX ATT_V2_890
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 631 of 650




                           APPX ATT_V2_891
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 632 of 650




                           APPX ATT_V2_892
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 633 of 650




                           APPX ATT_V2_893
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 634 of 650




                           APPX ATT_V2_894
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 635 of 650




                           APPX ATT_V2_895
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 636 of 650




                           APPX ATT_V2_896
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 637 of 650




                           APPX ATT_V2_897
USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 638 of 650




                           APPX ATT_V2_898
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 639 of 650




APPX ATT_V2_899
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 640 of 650




APPX ATT_V2_900
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 641 of 650




APPX ATT_V2_901
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 642 of 650




APPX ATT_V2_902
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 643 of 650




APPX ATT_V2_903
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 644 of 650




APPX ATT_V2_904
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 645 of 650




APPX ATT_V2_905
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 646 of 650




APPX ATT_V2_906
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 647 of 650




APPX ATT_V2_907
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 648 of 650




APPX ATT_V2_908
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 649 of 650




APPX ATT_V2_909
                  USCA Case #25-1087   Document #2105058   Filed: 03/10/2025   Page 650 of 650




APPX ATT_V2_910
